        Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 1 of 24




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_____________________________________________
                                                 :
                                                 :
SECURITIES AND EXCHANGE COMMISSION,              :
                                                 :
                  Plaintiff                      :                    Civil Action No.
                                                 :                    10-CV-03130 (BMS)
            v.                                   :
                                                 :                    Amended
ROBERT STINSON, JR., et al.,                     :                    Distribution Plan
                                                 :
                  Defendants                     :
                  and Relief Defendants.         :
_______________________________________________ :


       1.      The plaintiff, the Securities and Exchange Commission (the “Commission”),

respectfully submits this Amended Distribution Plan (the “Plan”) to distribute assets collected by

the Receiver appointed in the captioned action to certain persons who suffered net losses as a result

of the violations alleged in the Complaint, after payment of outstanding obligations and expenses

of the Receivership Estate.

                              Background and Procedural History

       2.      On June 29, 2010, the Commission filed its Complaint in this action against Robert

Stinson, Jr. (“Stinson”), Life’s Good, Inc., Life’s Good STABL Mortgage Fund, LLC, Life’s Good

High Yield Mortgage Fund, LLC, Life’s Good Capital Growth Fund, LLC, IA Capital Fund, LLC,

and Keystone State Capital Corporation (collectively, the “Defendants”), alleging the Defendants

violated Sections 5(a), 5(c), and 17(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §

77e (a), (c), and q(a)], and Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”)
         Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 2 of 24




[15 U.S.C. § 78j(b)], and Rule 10b-5 [17 C.F.R. § 240.10b-5], thereunder through an offering

fraud.

         3.    The Commission also named in the complaint five relief defendants: First

Commonwealth Service Company, an affiliate of the Defendants run by Stinson’s brother;

Stinson’s wife, son, and daughter: Susan, Michael, and Christine Stinson, respectively; and

Stinson’s former wife, Laura Marable (collectively referenced herein as the “Relief Defendants”),

claiming each to have been unjustly enriched by misappropriated investor funds.

         4.    The Commission filed an Ex Parte Motion for a Temporary Restraining Order and

other relief simultaneously with the filing of the Complaint, which this Court granted.

         5.    On September 13, 2010, upon the Commission’s motion, this Court established a

Receivership estate (the “Estate”) and appointed a Receiver (the “Receiver”).

         6.    In an Amended Order and Permanent Injunction entered on June 22, 2011 (the

“Permanent Injunction”), this Court granted the Commission’s motion for partial summary

judgment, finding that the Defendants violated Sections 5(a), 5(c), and 17(a) of the Securities Act

[15 U.S.C. § 77e (a), (c), and q(a)], and Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)],

and Rule 10b-5 [17 C.F.R. § 240.10b-5] and enjoining the Defendants from further violations of

the referenced laws.

         7.    On July 1, 2013, upon the Commission’s Motion, this Court entered final judgment

against all Defendants and Relief Defendants, finding the Defendants jointly and severally liable

for disgorgement of $14,051,246, and prejudgment interest of $472,726, for a total obligation of

$14,523,972; and the Relief Defendants, in the aggregate, jointly and severally liable with the

Defendants for $1,390,038.64 (the “Final Judgment”). As of February 24, 2015, the Receiver has

collected $1,623,127.57.




                                                 2
        Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 3 of 24




        8.      The Receiver has not distributed any of the collections to victims of the fraud. To

date, money has been distributed only to satisfy the expenses of the Estate, including professional

fees.

        9.      The Estate has paid certain outstanding expenses and is now in the process of

winding down, currently holding $446,481.88 in recovered money. Except as described herein, no

further significant collections are expected.

        10.     On January 8, 2015, this Court ordered the Commission to submit a distribution

plan to the Court to distribute one-half of the net Estate to defrauded investors. Docket No. 333.

        11.     In an Order entered on January 13, 2015 (“Order to Show Cause”), the Court set

forth procedures by which Notice of the proposed distribution would be provided to defrauded

investors and other interested parties, and by which interested parties could submit objections to

the proposed distribution. Docket No. 334. The Commission staff has complied with those

procedures.

                                   Related Criminal Proceedings

        12.     On November 4, 2010, Stinson was indicted in the Eastern District of Pennsylvania

and charged with five counts of wire fraud, four counts of mail fraud, nine counts of money

laundering, one count of bank fraud, three counts of filing false tax returns, two counts of

obstruction of justice, and two counts of making false statements to federal agents. United States

v. Stinson, 2:10-cr-00724 (E.D. Pa.) (MMB). On August 15, 2011, Stinson pled guilty to all

counts of the indictment. On December 16, 2013, the Honorable Michael M. Baylson, United

States District Judge for the Eastern District of Pennsylvania sentenced Stinson to 324 months in

prison and ordered Stinson to pay full restitution of to his victims.




                                                   3
          Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 4 of 24




                                            Definitions

          13.   The “Complaint” refers to the Complaint filed by the Commission in the captioned

matter.

          14.   The “Fund” is the Estate balance plus any accretions to that balance, including, any

additional collections or accretions through the Final Receiver Accounting, except as specified in

paragraph 29, below,

          15.   The “Tax Administrator” appointed in this Plan is Damasco & Associates LLP

(“Damasco”), a certified public accounting firm located in Half Moon Bay, California. As further

described below, the Tax Administrator is appointed to perform certain tax and general Fund

administrative functions, as further described below and pursuant to the Damasco January 11, 2013

Letter Agreement with the Commission for the Calendar Years Ending 2013, 2014 and 2015 (the

“Letter Agreement”).

          16.   The “Fund Transfer” refers to the Receiver’s transfer of the Fund to a non-interest

bearing account controlled by the Tax Administrator.

          17.   The “Final Receiver Accounting” refers to the Receiver’s final accounting of the

financial accounts of the Estate (“Estate Accounts”) upon the Fund Transfer. This accounting

should be in the form of the Standardized Fund Accounting Report that accompanied each of the

Receiver’s quarterly status report, although the Receiver shall promptly provide additional

information upon request by the Tax Administrator or the Commission staff.




                                                 4
        Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 5 of 24




       18.     The following are the identified “Fund Expenses” to be paid from the Fund after

the Fund Transfer and the filing of the Final Distribution Schedule:

     Date(s)
                          Payee              Description                   Amount
    Incurred
                                           Wind Down
       2015              Reserve                                       $             5,000
                                            Expenses
                                        Tax Administrator
       2015             Damasco         Fees related to Tax        $              1,800.00
                                               Work
                                        Tax Administrator
                                          fees related to
       2015             Damasco                                    $              7,500.00
                                          General Fund
                                       Administrative Work
       2015                IRS              Taxes due              $                700.00
                Total                                              $             15,000.00

Subject to paragraph 65, below, no other expenses may be paid from the Fund without further

court order.

       19.     The IRS expense is an estimate premised on the transfer of the Fund from the

Estate Accounts to a non-interest bearing account no later than March 31, 2015, and will be

reserved pending determination of actual tax liability.

       20.     The Reserve expense is a reserve for unanticipated, miscellaneous costs of

implementing this Plan, including additional costs incurred by the Tax Administrator in connection

with tax reporting and withholding related costs specific to certain Investors receiving a direct

distribution of retirement funds.

       21.     “Estate Professionals” refers to the Receiver, Kamian Schwartzman, and his

counsel, Pietragallo Gordon Alfano Bosick & Raspanti, LLP.

       22.     “Investor” refers to any individual or entity identified by the Commission staff that

provided funds directly or indirectly to the Defendants in connection with the purported

“Investments” identified in the Complaint.



                                                  5
        Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 6 of 24




        23.     “Nonresponsive Investor” refers to any Investor whose address the Commission

staff has not been able to verify and/or who did not respond to Commission or Receiver attempts to

obtain information about his/her/its Investment. Nonresponsive Investors will not receive a

distribution under this Plan.

        24.     “Eligible Investor” refers to any Investor who is not a Nonresponsive Investor, and

whose Pro Rata Share exceeds $20. No distribution shall be made under this Plan for $20 or less

(“De Minimis Threshold”). The De Minimis Threshold is based on the conclusion that it would

not be cost effective to attempt to distribute amounts of less than $20 to individual accounts.

        25.     In order to respect the privacy of Eligible Investors, each Eligible Investor is

identified by an “Investor Number,” provided by the Commission and/or the Receiver to

Investors in the letter accompanying a Questionnaire sent to possible investors, and repeated in the

correspondence provided to Investors at their last known address with a copy of the proposed

distribution.

        26.     After the Fund Transfer, the Receiver’s provision of the Final Receiver Accounting

to the Commission and the Tax Administrator, and the calculation of the Investors’ Fund, the

Commission will file with the Court a “Final Distribution Schedule” with Eligible Investor

names and last known addresses redacted. The Commission will simultaneously transmit to the

Tax Administrator an unredacted Final Distribution Schedule. The Final Distribution Schedule

will include each payee by name, Investor Number, last known address, and amount of

distribution.

        27.     “Pre-Distribution Estate Collections” refers to any receipt or collection of Estate

assets and/or assets collected in partial or full satisfaction of the Final Judgment subsequent to the

Fund Transfer and before the filing of the Final Distribution Schedule. Except as specifically set




                                                   6
        Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 7 of 24




forth in Paragraph 29, below, all Pre-Distribution Estate Collections will inure to the benefit of the

Fund.

        28.    “Post Distribution Estate Collections” refers to any receipt or collection of Estate

assets and/or assets collected in partial or full satisfaction of the Final Judgment subsequent to the

filing of the Final Distribution Schedule. Except as specifically set forth in Paragraph 29, below,

Post Distribution Estate Collections shall be remitted to the Clerk of the Court, as further discussed

below, paragraph 70.

        29.    “Velle, Harris, and Retainer Collections” refers to any collection of legal

retainers previously paid by the Receiver to the collection firm of Weltman, Weinberg & Reis Co.,

L.P.A (“Weltman”), and any collection on amounts outstanding on the settlement with Priscilla

Mulei in Schwartzman v. Velle Investments, LLC, Civil Action No. 11-4603 (E.D. Pa.) and on the

settlement with Michael Harris in Schwartzman v. Harris, Civ. Action No. 11-1354 (E.D. Pa.).

Any Velle and Harris Collections of the amount due for the month of February 2015 through

satisfaction of the referenced settlements, as well as the collection of $3,377.04 in returned

retainers from Weltman, shall inure to the benefit of the Estate Professionals and shall be deemed

to be in full satisfaction of $12,979.45 in expenses incurred by the Estate Professionals but

subjected to a hold back under the Receivership Order provided, however, that if the aggregate

amount collected pursuant to this paragraph exceeds $13,757.65, any amount in excess of

$13,757.65 be remitted to the Clerk of the Court in accordance with paragraph 70, below.

        30.    Each Investor’s “Actual Investment” refers to the Investor’s actual monetary

investment, and does not include profits, interest, other accruals reflected in any account statement

or record.




                                                   7
        Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 8 of 24




       31.     “Prior Distribution” refers to the aggregate amount received by each Investor,

directly or indirectly, from one or more of the Defendants, or from some other source, that returned

some or all of the Investor’s Actual Investment, whether in the form of principal, interest,

dividends, or otherwise.

       32.     “Investor Net Investment” is the difference between that Investor’s Actual

Investment and their Prior Distribution.

       33.     “Investors’ Fund” refers to one-half of the subset of the Fund that excludes the

Fund Expenses. As of February 24, 2015 the Investors’ Fund is valued at $ 213,567. After the

final assessment of all Fund Expenses, and subject to paragraph 65 below, one-half of any Reserve

expense or any expense allocation is excess of the assessed expense or reserved for a future

expense (the “Excess Reserve”) will be added to the Investors’ Fund.

       34.      “Estate Professionals Payment” refers to one-half of the subset of the Fund that

excludes the Fund Expenses. As of February 24, 2015, the Estate Professionals Payment is valued

at $213,567. After the final assessment of all Fund Expenses, and subject to paragraph 65 below,

one-half of the Excess Reserve will be added to the Estate Professionals Payment. Unless the Tax

Administrator is instructed otherwise by Court Order, the Estate Professionals Payment will be

paid to the law firm of Pietragallo Gordon Alfano Bosick & Raspanti, LLP, and that law firm shall

be responsible for allocating the payment between and among the Estate Professionals in

accordance with an agreement among those professionals or court order. Consistent with this

Court’s Order dated January 8, 2015 (Docket No. 333) directing a distribution to investors, this

Plan does not address the allocation of the Estate Professionals Payment.

       35.     Each Eligible Investor’s “Plan Distribution” is the amount that the Eligible

Investor will receive pursuant to this Plan. The Plan Distribution is the Eligible Investor’s pro rata




                                                  8
        Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 9 of 24




share of the Investors’ Fund based on their Net Investment. A schedule reflecting each Eligible

Investor’s Plan Distribution as of February 24, 2015 is attached hereto. It is expected that Plan

Distributions will change up until the filing of the Final Distribution Schedule due to, among other

things, the accrual of interest and any Pre-Distribution Collections. Final Plan Distributions will be

reflected in the Final Distribution Schedule filed by the Commission.

                        Duties of the Receiver and Additional Collections

        36.     If and when the Court approves this Plan, the Receiver will transfer the Fund to a

non-interest bearing account controlled by the Tax Administrator in accordance with the

instructions of the Tax Administrator. The Receiver will simultaneously provide to the Tax

Administrator and the Commission the Final Receiver Accounting and a declaration, under penalty

of perjury, that the Receiver is aware of no outstanding claims against, or interest in, the Estate or

the Fund, except as specifically discussed in this Plan.

        37.     Upon receipt of any Pre-Distribution Collections, the Receiver shall immediately

notify the Commission staff by electronic mail, and the Tax Administrator by receipted U.S. Mail,

of the amount and source of the collection, and, except as provided in paragraph 29, above, shall

transfer or otherwise transmit the Pre-Distributions Collections to the Tax Administrator in

accordance with instructions provided by the Tax Administrator.

        38.     The Receiver shall immediately notify the Commission staff by electronic mail, and

the Tax Administrator by receipted U.S. Mail, of any assets of the Estate collected and/or to be

paid to the Estate of which the Receiver or his counsel get notice prior to the filing of the Final

Distribution Schedule, regardless of whether the Receiver has received, or otherwise has control of

those assets.




                                                   9
       Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 10 of 24




        39.     The Receiver will cooperate with the Tax Administrator and the Commission staff

in connection with their duties as described in this Plan and/or the proposed distribution.

        40.     Except as provided in paragraph 29, above, any Post Distribution Collections shall

be remitted by the recipient to the Clerk of the Court, together with a cover letter setting forth the

title and civil action number of this action and the name of this Court; and specifying that payment

is made pursuant to paragraphs 40 and 70 of this Plan. The recipient shall simultaneously transmit

photocopies of such payment and cover letter to Catherine E. Pappas at the address set forth below.

The Clerk shall then proceed as set forth in paragraph 71 below.

        41.     Except as otherwise specifically provided herein, the Receiver will take all steps

necessary to wind down the Estate, including resolving all outstanding tax issues.

        42.     If and when the Receiver and the Commission staff determine that the Receiver has

concluded his duties and obligations under the Receivership Orders, either may apply to the Court

for an Order terminating the Receivership.

        43.     Except as specifically provided herein or by court order, no further fees or expenses

shall be paid to the Estate Professionals.

                Appointment and Tax Related Duties of the Tax Administrator

        44.     The Fund has been, and will be continued to be treated as a Qualified Settlement

Fund (“QSF”) under Section 468B(g) of the Internal Revenue Code, 26 U.S.C. §468B(g) and

related regulations, 26 C.F.R. §51.468B-1 through 1.468B-5.

        45.     All amounts collected by the Receiver or others on the judgments described above

are credited against the disgorgement components of the Final Judgments entered in this matter,

and the Commission staff does not expect any portion of the prejudgment interest components of

those Final Judgments to be satisfied. If this changes, the Commission staff will work with the




                                                  10
       Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 11 of 24




Tax Administrator to determine if and how this affects the reporting requirements of the Fund and

the duties of the Tax Administrator.

       46.     Damasco is designated, nunc pro tunc, the Tax Administrator of the Fund for the

period beginning January 1, 2015, pursuant to section 468B(g) of the Internal Revenue Code

(IRC), 26 U.S.C. § 468B(g), and related regulations, and shall satisfy the administrative

requirements imposed by those regulations , as appropriate, by:

       a.      Preparing and filing federal and state income tax returns, as required;

       b.      Where required, calculating quarterly estimated tax payments and provide
               information to the Commission so that payments may be made timely;

       c.      Making arrangements with the Commission staff, as appropriate, to pay the tax
               liability of the Fund;

       d.      Calculating and recommending retention of a reserve for penalties and interest to be
               assessed as a result of any late filing of tax returns and late payment of taxes;

       e.      Determining and complying with information reporting obligations of the Fund for
               payments to vendors;

       f.      Ensuring that the Fund is in full compliance with its information reporting and
               withholding obligations for domestic and foreign investor payments.

Upon request, the Tax Administrator shall provide copies of any filings to the Commission’s

counsel of record.

       47.     The Tax Administrator may pay 2015 taxes due up to the amount set forth in this

Plan, including paragraph 65, without further court order. If the Tax Administrator concludes that

the tax obligations of the Fund exceed that set forth in this Plan, the Tax Administrator may request

that the Commission staff file with the Court a motion, supported by the Tax Administrator’s

declaration of the amount of taxes due, to transfer funds from the Fund to pay any tax obligations

of the Fund.




                                                 11
       Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 12 of 24




       48.     The Tax Administrator shall be paid for its tax related services in accordance with

paragraph 18 of this Plan. Except as otherwise provided herein, no other fees or expenses for the

tax related services of the Tax Administrator may be paid without the Court’s prior approval.

                         Administrative Duties of the Tax Administrator

       49.     In addition to the foregoing tax related duties of the Tax Administrator, Damasco

also will perform certain administrative functions in connection with the distribution of the Fund

(the “Distribution”), as set forth below and pursuant to the Letter Agreement.

       50.     Upon the Receiver’s completion of all steps set forth in paragraph 36 of this Plan,

and after the Tax Administrator has had the opportunity to examine the Fund as transferred, the

Final Receiver Accounting, and the declaration, all in conjunction with this Plan, the Tax

Administrator shall pay or reserve the Fund Expenses as described herein. At the same time, if the

Tax Administrator determines such payment to safely fall within the amount that the Estate

Professionals will receive under this Plan, the Tax Administrator may distribute $100,000 to the

law firm of Pietragallo Gordon Alfano Bosick & Raspanti, LLP, and that law firm shall be

responsible for allocating the payment between and among the Estate Professionals in accordance

with an agreement among those professionals or court order. Any amount distributed to the Estate

Professionals in accordance with this paragraph will be offset, dollar for dollar, from the Estate

Professionals Payment described above, paragraph 34, with the remainder to be distributed in

accordance with paragraph 34 after the Commission’s filing of the Final Distribution Schedule.

       51.     The Tax Administrator will prepare payments pursuant to the Final Distribution

Schedule, and mail those payments, including transmittal correspondence explaining the purpose

of the distribution and providing any other appropriate instructions or directions. All checks shall

contain a stale date of 90 days after the date of issuance and will not be honored after that time.




                                                  12
          Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 13 of 24




          52.   The Tax Administrator is authorized to distribute the Investors’ Fund in accordance

with this Plan and the Final Distribution Schedule upon the filing by the Commission of the

redacted Final Distribution Schedule and receipt of an unredacted Final Distribution Schedule,

without further court order.

          53.   With respect to the transmittal correspondence to Eligible Investors, the Tax

Administrator will include information regarding the tax consequences of the Distribution.

However, the Tax Administrator shall not provide tax advice to Eligible Investors and such

transmittal correspondence shall indicate the information provide therein is not and should not be

considered tax advice. Any necessary tax forms will be included with this correspondence to

payees.

          54.   The Tax Administrator will perform TIN matching, printing, mailing, and filing of

1099’s, or other information returns, where required.

          55.   If, after issuing payments, the payee notifies the Tax Administrator that the

payment should be directed differently to properly reflect their original investment (such as to pay

to an IRA or an individual), documents each claim, and executes and returns a reissue form

provided for such purpose, the Tax Administrator will reissue the payment as requested.

          56.   After completion of the Distribution, and the filing by the Tax Administrator of the

final tax return for the Fund, the Tax Administrator, without further Order of the Court, shall direct

all remaining money in the Fund (the “Remainder”), including any amounts returned or

represented by any outstanding checks that have not been presented for payment, to the Clerk of

this Court, together with a cover letter setting forth the title and civil action number of this action

and the name of this Court; and specifying that payment is made pursuant to paragraph 56 of this

Plan. The Clerk shall then proceed as set forth in paragraph 71 below. The Tax Administrator




                                                   13
         Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 14 of 24




shall simultaneously transmit photocopies of such payment and letter to Catherine E. Pappas at the

address set forth below.

         57.   Upon completion of the Distribution, the filing of a Final Tax Return, and the

disposal of the Remainder in accordance with paragraph 56, above, the Tax Administrator will

provide to the Commission staff an accounting for the Fund (the “Fund Accounting”), including

check number, amount, and payee information, for redaction, as appropriate, and filing with the

Court.

         58.   The Tax Administrator will perform the administrative duties specified above,

paragraphs 49-57, at a rate of $10 per check.

         59.   To the extent that any of the payments are returned, the Tax Administrator, working

with the Commission, will make reasonable efforts to locate the Eligible Investor and re-issue

payment to the Eligible Investor at a new address. Use of commercial computer databases

regularly available to the Tax Administrator and/or the Division of Enforcement of the

Commission shall constitute reasonable efforts to locate Eligible Investors. The Tax Administrator

will be compensated for these services at the hourly rates memorialized in the Letter Agreement.

Subject to paragraph 65, such fees will be limited by the amounts set forth in paragraph 18, above.

               Miscellaneous Additional Provisions Regarding the Tax Administrator

         60.   All Tax Administrator invoices must be submitted to the Commission staff at

DistPgmAnalysis@SEC.GOV and pappasc@sec.gov, and approved by the Commission staff,

before the Tax Administrator can issue payment from the Fund.

         61.   Subject to paragraph 65, below, court approval is required if the aggregate payment

sought by the Tax Administrator for its work exceeds the amount set forth in paragraph 18, above.




                                                14
       Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 15 of 24




        62.     The Tax Administrator is excused from all legal requirements to post a bond or give

an undertaking of any type in connection with its duties and obligations under the Plan.

        63.     The Tax Administrator is entitled to rely on all outstanding rules of law and court

orders, and shall not be liable to anyone for good faith compliance with any order, rule, law,

judgment, or decree, including orders of this Court.

        64.     The Tax Administrator shall provide no tax advice to any Investor, vendor, or

Estate Professional. Each Investor, vendor, and/or Estate Professional shall be responsible for

obtaining his, her or its own tax advice with respect to their respective distribution under this plan.

                                         Additional Matters

        65.     Notwithstanding the foregoing, any expenses incurred in the implementation of this

Plan may be satisfied without further court order with funds from the Reserve expense, or from any

remainder in allocated expense money after payment of the specified expense.

        66.     In executing their obligations as described herein, the Receiver and the Tax

Administrator may be assisted by the Commission staff, and such assistance will be deemed to be

within the scope of the staff’s employment by the Commission.

        67.     This Plan does not provide tax advice. Investors, vendors, Estate Professional, or

other interested parties should consult with their own tax advisors in connection with losses,

payments, and/or distributions.

        68.     Unless specifically provided otherwise herein or in writing by the Commission

staff, all Notices to the Commission must be sent by receipted mail to the address below:

                                  Counsel for the Commission:
                                       Catherine E. Pappas
                                       Senior Trial Counsel
                        United States Securities and Exchange Commission
                                   Philadelphia Regional Office
                                         One Penn Center



                                                  15
        Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 16 of 24




                                       1617 JFK Blvd, Suite 520
                                        Philadelphia, PA 19103

Notwithstanding, for the purposes of compliance with paragraphs 37 and 38 above, electronic mail

may be sent to the Commission staff at pappasc@sec.gov.

        69.      Unless specifically provided otherwise herein or in writing by the Tax

Administrator, any Notice to the Tax Administrator must be sent by return receipted mail to the

address below:

                                    Tax Administrator, SEC v. Stinson
                                       Damasco & Associates LLP
                                         700 Monte Vista Lane
                                       Half Moon Bay, CA 94019

        70.      Any Post Distribution Estate Collections, whether by the Court, the Commission,

the Receiver, their respective representatives, agents, heirs or assigns, or otherwise, shall be

remitted to the Clerk of the Court, together with a cover letter setting forth the title and civil action

number of this action and the name of this Court; and specifying that payment is made pursuant to

the Final Plan. The Clerk of the Court shall proceed as set forth below, in paragraph 71.

        71.      The Clerk shall deposit the funds into an interest bearing account with the Court

Registry Investment System ("CRIS") or any other type of interest bearing account that is utilized

These funds, together with any interest and income earned thereon (collectively, the “Fund”), shall

be held in the interest bearing account until further order of the Court. In accordance with 28

U.S.C. § 1914 and the guidelines set by the Director of the Administrative Office of the United

States Courts, the Clerk is directed, without further Court order, to deduct from the income earned

on the money in the Fund a fee equal to ten percent of the income earned on the Fund. Such fee

shall not exceed that authorized by the Judicial Conference of the United States.




                                                   16
       Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 17 of 24




       72.     Upon application by the Commission or the Estate Professionals not before the

expiration of one year from the filing of the Fund Accounting with the Court, the Court shall

determine if and how any funds held by the Court, and any future collections, shall be distributed.

Any such application shall be served upon all parties of record as provided in the Federal Rules of

Civil Procedure and any applicable local rules.


       73.     If the Commission staff should determine that this Plan should be modified in any

material manner, it shall move the Court for an order on appropriate notice.




Dated: March 10, 2015                          Respectfully submitted,




                                                  s/ Catherine E. Pappas
                                                  Catherine E. Pappas
                                                  Counsel for Plaintiff,
                                                  Securities and Exchange Commission
                                                  Philadelphia Regional Office
                                                  One Penn Center
                                                  1617 JFK Blvd, Suite 520
                                                  Philadelphia, PA 19103
                                                  Telephone: (215) 597-3100
                                                  Facsimile: (215) 597-2740




                                                   17
Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 18 of 24
Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 19 of 24
Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 20 of 24
Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 21 of 24
Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 22 of 24
Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 23 of 24
Case 2:10-cv-03130-BMS Document 339 Filed 03/10/15 Page 24 of 24
